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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

BACKPAGE.COM, LLC,

                      Plaintiff,                        Civil No. 1:15-cv-06340

           v.                                           Judge John J. Tharp, Jr.

THOMAS J. DART,
Sheriff of Cook County, Illinois,

                      Defendant.


                                           ORDER

           Sheriff Dart’s motion for partial consideration [254] is denied. See Statement for
details.

                                        STATEMENT

        On March 25, 2019, this Court granted a motion by Sheriff Dart for the
imposition of sanctions on Backpage.com based on misrepresentations of fact it made in
the course of this proceeding. At the same time, the Court denied Sheriff Dart’s motion to
the extent that it sought sanctions against Backpage.com’s counsel, DavisWright
Tremaine LLP (“DWT”). The Court denied the motion for sanctions against DWT
largely because the Sheriff had identified no clear evidence that DWT was aware that the
representations of the company concerning its activities were false: “[T]he Sheriff’s
motion falls short in documenting any instance in which counsel (as distinguished from
Backpage) made or facilitated a specific representation of fact that was known to be
untrue when it was made.”

        The Sheriff has moved for reconsideration of the denial of its request for
sanctions against DWT based on what it says is “the discovery of new evidence”
regarding Backpage’s workarounds pertaining to transactions with credit card companies
and its use of cryptocurrencies as a substitute means of payment. Specifically, Sheriff
Dart points to statements provided by Carl Ferrer, Backpage.com’s former CEO, in a
June 2018 declaration filed in a related criminal proceeding indicating that “DWT
provided legal advice concerning a range of additional legal issues, including credit card
payment processing issues and cryptocurrency issues.” 1 This means, according to the

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        According to the Sheriff’s motion (at 5), the Ferrer declaration also states that
DWT provided this advice by means of scores of telephone conversations and hundreds
of email communications. That is not an accurate characterization of the declaration,
which actually states that Ferrer had scores of calls and hundreds of emails with DWT
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Sheriff, that “we now know that not only did DWT have specific proof via the California
Indictment that Backpage was able to circumvent the credit card bans to gain significant
income from commercial transactions for at least one year following the filing of its
complaint against the Sheriff, but that DWT was counseling Backpage on these very
issues.” Motion, ECF No. 254, at 5. “This,” the Sheriff contends, “is damning testimony
against DWT.”

        The Court is not persuaded. The Ferrer declaration confirms only that DWT
provided legal advice to Backpage on these subjects, not that it knew that any specific
representations made by Backpage during this proceeding were false. And, indeed, given
Mr. Ferrer’s plea agreement, which requires complete and truthful cooperation with
government prosecutors, one would expect that, if Mr. Ferrer could provide testimony
that DWT actually knew that representations made by Backpage in court proceedings
were false, that testimony would now be of record. The mere fact that DWT provided
legal advice regarding credit card processing issues and cryptocurrency issues does not
warrant an inference that DWT knowingly defrauded the Court by advancing an
argument that Backpage.com would be irreparably harmed if its customers (all
customers, not just those placing ads in the adult services section) were unable to pay for
advertisements with credit cards. Indeed, the filing of this law suit easily fits within the
description of legal advice that DWT might have provided with respect to “credit card
processing issues,” as the law suit is based on the claim that the Sheriff threatened (that’s
how DWT characterized it and the Seventh Circuit agreed) Visa and MasterCard to stop
processing credit card payments for Backpage. Knowing that DWT provided “legal
advice” concerning “credit card payment processing issues” thus tells us nothing new at
all. So, too, Ferrer’s statement that DWT’s legal advice extended to cryptocurrency
issues.” It comes as no surprise to this Court that Backpage.com was exploring any
number of alternative means of payment for advertising to fill the void resulting from
termination of their ability to take credit card payments. That DWT provided advice
about cryptocurrencies does not begin to show that it knew the extent of cryptocurrency
revenues Backpage was receiving, much less that acceptance of cryptocurrencies would
in fact make up for losses Backpage experienced as a result of the termination of payment
processing by credit cards.

       Accordingly, the Court denies the Sheriff’s motion for reconsideration.




Date: February 18, 2020
                                             John J. Tharp, Jr.
                                             United States District Judge


attorneys about a host of matters, not just the two identified by the Sheriff. See ECF No.
254-2 at ¶ 16 (“In my role as CEO of Backpage.com, DWT provided legal advice
concerning a range of additional legal issues, including credit card payment processing
issues and cryptocurrency issues.”).
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